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                     IN UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF WISCONSIN

UNITED STATES OF AMERICA,                )
                                         )
              Plaintiff,                 )
                                         )
                     v.                  )      No. 3:08 CR 159
                                         )
JEAN SONNENBERG,                         )
                                         )
              Defendant.                 )

                                       ORDER

       Defendant Jean Sonnenberg has filed a motion seeking a sentence reduction

pursuant to 18 U.S.C. § 3582(c) in connection with Amendment 750 to the United States

Sentencing Guidelines. Although the United States Sentencing Commission has acted so

that the amendment will be retroactively applicable and potentially impact sentences

for offenses involving crack cocaine, the effective date is November 1, 2011; and then

only if the United States Congress takes no contrary action.

       For this reason, defendant Sonnenberg’s motion is premature. Rather than

denying the motion, the court will keep the motion and the attachments thereto under

advisement until November 1, 2011. The court will address the motion promptly

thereafter.
                                         SO ORDERED.

       Date: September 22, 2011

                                         s/ James T. Moody
                                         JUDGE JAMES T. MOODY
                                         UNITED STATES DISTRICT COURT
